UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - - - x
                                    :
UNITED STATES OF AMERICA            :                ORDER OF CONTINUANCE
                                    :
          - v. -                    :
                                    :                23 Mag. 563
NADIM AHMED,              :
                                    :
                 Defendant.         :
                                    :
- - - - - - - - - - - - - - - - - - x

     Upon the application of the United States of America and the

affirmation      of   Vladislav   Vainberg,   Assistant        United    States

Attorney for the Southern District of New York, it is found that

the defendant was charged with violations of Title 18, United

States Code, Sections 2314, and 2, and was arrested on January 25,

2023;

     It is further found that the defendant was presented on

January 25, 2023 before the Honorable Sarah L. Cave in the Southern

District of New York, and released on bail;

     It is further found that Richard Hong, Esq., counsel for

defendant,    and     Assistant   United    States    Attorneys       Vladislav

Vainberg   and    Samuel   Raymond   have   been     engaged    in,     and   are

continuing, discussions concerning a possible disposition of this

case;

     It is further found that the Government has requested a

continuance of 30 days to engage in further discussions with

counsel about the disposition of this case and that the defendant,
through counsel, has consented that such a continuance may be

granted for that purpose and has specifically waived his right to

be charged in an indictment or information for an additional 30

days; and

     It is further found that the granting of such a continuance

best serves the ends of justice and outweighs the best interests

of the public and the defendant in a speedy trial; and therefore

it is

     ORDERED that the request for a continuance pursuant to 18

U.S.C. § 3161(h)(7)(A) is hereby granted, until November 6, 2023,

and that a copy of this Order and the affirmation of Assistant

United States Attorney Vladislav Vainberg be served by electronic

mail on this date on counsel for the defendant by the United States

Attorney’s Office.



Dated: New York, New York
     October 5, 2023

                              __________________________________
                              THE HONORABLE STEWART D. AARON
                              UNITED STATES MAGISTRATE JUDGE
                              SOUTHERN DISTRICT OF NEW YORK
